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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,



       v.                                             Criminal Action No. 21-638 (TJK)

GILBERT FONTICOBA,

               Defendant.


                                    SCHEDULING ORDER

       Upon consideration of the parties’ joint proposal for a scheduling order, it is hereby OR-

DERED that:

       1.      By May 19, 2023: (a) the United States shall notify Defendant of its intention, if

any, to introduce any evidence under Federal Rule of Evidence 404(b); and (b) Defendant shall

notify the United States of his intention, if any, to assert any of the defenses outlined in Federal

Rules of Criminal Procedure 12.1, 12.2, and 12.3;

       2.      By June 30, 2023, each party shall disclose to opposing counsel a written summary

of any testimony that the party intends to use under Federal Rules of Evidence 702, 703, or 705;

       3.      The parties shall file any pretrial motions, including motions to suppress and mo-

tions in limine, by August 11, 2023; oppositions to the motions shall be filed by September 8,

2023; and replies shall be filed by September 15, 2023;

       4.      The parties shall file on the docket and submit to chambers in Microsoft Word for-

mat at Kelly_Chambers@dcd.uscourts.gov a Joint Pretrial Statement, which shall include the in-

formation set forth in Attachment A to this Order, by September 22, 2023;
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       5.      The parties shall appear for a motions hearing and pretrial conference on October

6, 2023, at 10:00 a.m. in Courtroom 11; and

       6.      Jury selection and trial shall commence on October 23, 2023, at 9:00 a.m. in Court-

room 11.



       SO ORDERED.

                                                            /s/ Timothy J. Kelly
                                                            TIMOTHY J. KELLY
                                                            United States District Judge

Date: March 6, 2023




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                                          Attachment A

The Joint Pretrial Statement shall include the following:

   a. A one-paragraph joint statement of the case for the Court to read to prospective jurors;

   b. Proposed voir dire questions that include:
        i.   The voir dire questions on which the parties agree; and
       ii.   The voir dire questions in which the parties disagree, with specific objections
             noted below each disputed question and supporting legal authority (if any);

   c. Proposed jury instructions, which are formatted so that each instruction begins on a new
      page, and indicate:
         i.  The instructions to which the parties agree;
        ii.  The instructions to which the parties disagree, with specific objections noted be-
             low each disputed instruction and supporting legal authority (if any); and
       iii. The proposed instruction’s source (e.g., the Red Book, Matthew Bender’s Federal
             Jury Instructions), or, for modified or new instructions, its supporting legal au-
             thority;

   d. A list of expert witnesses, accompanied by a brief description of each witness’s area of
      expertise and expected testimony, followed by specific objections (if any) to each wit-
      ness;

   e. A list of prior convictions that the government intends to use for impeachment or any
      other purpose, followed by specific objections (if any) to that use;

   f. A list of exhibits that the government intends to offer during trial, with a brief description
      of each exhibit;

   g. Any stipulations executed or anticipated to be executed;

   h. A list of lesser included offenses for which any party may seek a jury instruction; and

   i. A proposed verdict form that includes a date and signature line for the jury foreperson, as
      well as proposed special interrogatories (if any).




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